           Case 1:13-cr-00294-LJO-SKO Document 123 Filed 05/18/15 Page 1 of 1

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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                        CASE NO. 1:13-CR-294 LJO
11
                                 Plaintiff,           ORDER ON GOVERNMENT’S MOTION TO
12                                                    DISMISS INDICTMENT AS TO SUPHAN SAISEE
                           v.
13
     SUPHAN SAISEE,
14
                                Defendant.
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            Pursuant to the motion by the United States, IT IS HEREBY ORDERED in the interest of justice
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     that the indictment against SUPHAN SAISEE be dismissed without prejudice to refiling.
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19 IT IS SO ORDERED.

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        Dated:    May 18, 2015                            /s/ Lawrence J. O’Neill
21                                                  UNITED STATES DISTRICT JUDGE

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      MOTION TO DISMISS                               2
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